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                               UNITED STATES BANKRUPTCY COURT
                                      WESTERN DISTRICT OF TEXAS
                                           AUSTIN DIVISION

  In re:                                         |             Case No. 24-10768-SMR
        LOS TRECE TEXAS, LLC                     |
                                                 |
                                                 |
                Debtor




                         Chapter 11 Subchapter V Trustee's Report of No Distribution

I, Michael G. Colvard, having been appointed trustee of the estate of the above-named debtor, report I
collected funds totaling: $0.00. The case was dismissed with no plan confirmed and no plan payments
made to the trustee. Pursuant to 11 U.S.C. § 330(a), on April 9, 2025, the Court ordered compensation
of $10,762.87 be awarded to the trustee. These funds have not yet been fully paid by the debtor to the
trustee. I hereby certify that the estate of the above-named debtor has been fully administered through
the date of dismissal. I request that I be discharged from any further duties as trustee.

DATED: April 11, 2025                                    Respectfully Submitted,

                                                         MARTIN & DROUGHT, P.C.
                                                         Weston Centre
                                                         112 East Pecan Street, Suite 1616
                                                         San Antonio, Texas 78205
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                                                         Facsimile: (210) 227-7924
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                                                         By: /s/Michael G. Colvard
                                                             Michael G. Colvard
                                                             State Bar No. 04629200

                                                         SUBCHAPTER V TRUSTEE



STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-11(v)-NDR C
